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                           IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                    ABERDEEN DIVISION

DANNY J. STARLING AND JANICE STARLING                                                      PLAINTIFFS

V.                                                     CIVIL ACTION NO. 1:17-CV-00216-SA-DAS

CRAWFORD & COMPANY, ET AL.                                                              DEFENDANTS


    DEFENDANTS CRAWFORD & COMPANY AND BROADSPIRE SERVICES, INC.'S
       MEMORANDUM IN SUPPORT OF MOTION TO DISMISS PURSUANT TO
         RULE 12(B)(1) FOR LACK OF SUBJECT MATTER JURISDICTION


          Pursuant to Federal Rule of Civil Procedure 12(b)(1), Defendants Crawford & Company

("Crawford") and Broadspire Services, Inc. ("Broadspire") file this Memorandum of Law in

Support of their Motion to Dismiss for Lack of Subject Matter Jurisdiction,1 and in support

thereof show the following:

                                           INTRODUCTION

          Plaintiffs, Danny J. Starling and Janice Starling (collectively, the "Starlings"), filed an

Amended Complaint against Mr. Starling's former employer, his former employer's workers'

compensation insurers, employees of the workers' compensation insurers, the third-party

administrator handling his workers' compensation claim, employees of the third-party

administrator, and medical facilities and a doctor that provided him treatment. As to Defendants

Crawford & Company and Broadspire Services, Inc., the Amended Complaint asserts claims of




1
    Crawford and Broadspire file this Motion to Dismiss solely to address the Court's—and any court's—
    subject matter jurisdiction to hear the Starling's action regarding non-payment of workers'
    compensation benefits prior to the exhaustion of all administrative remedies. Crawford and Broadspire
    reserve all rights to assert defenses to the merits of the Starlings' claims, including all additional
    defenses available under Rule 12(b)(1)-(7).

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bad faith, conspiracy, breach of contract, gross negligence, breach of good faith and fair dealing,

and fraud related to the administration of Mr. Starling's workers' compensation claim.

          Significantly, the Starlings attempt to bring claims related to Crawford and Broadspire's

allegedly improper denial of medical benefits and closure of the medical management portion of

Mr. Starling's workers' compensation claim. However, Mr. Starling has failed to exhaust the

administrative remedies required under Mississippi law prior to filing a bad faith action related to

the non-payment of workers' compensation benefits. As Mr. Starling has failed to exhaust those

remedies, this action is premature and the Court lacks subject matter jurisdiction to hear this

matter.

                            RELEVANT FACTUAL BACKGROUND

          Plaintiff Danny Starling injured his back on December 7, 1999, while working for

Burlington House Fabrics ("Burlington").2 The Mississippi Workers' Compensation Commission

determined that he was due disability payments and medical expense payments from his

employer's workers' compensation insurer, Reliance National Indemnity Company ("Reliance").3

Reliance "utilized Crawford & Company as their Workers' Compensation Third Party

administrator."4 Mr. Starling underwent numerous procedures over several years to treat the pain

related to his back injury, including lumbar fusion surgery and nerve blocks.5

          In March 2016, the physician that performed Mr. Starling's lumbar fusion in 2002—Dr.

Crosby—allegedly recommended a revision of the original surgery based on an MRI of Mr.

Starling.6 However, Dr. Crosby refused to perform the surgery, allegedly because he no longer



2
  Id. ¶19.
3
  Id. ¶¶19-21.
4
  Id. ¶21.
5
  Amended Compl. ¶22.
6
  Id. ¶22.
                                                  2

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accepted workers' compensation insurance.7 After Starling advised Broadspire that Dr. Crosby

recommended a revision of his prior lumbar surgery, Broadspire arranged for Mr. Starling to see

Dr. Fereidoon Parsioon of Phoenix Neurosurgery, PLLC for additional evaluation.8

          Dr. Parsioon's evaluation was "to discuss if another surgery was necessary to help [Mr.

Starling] with his pain and suffering."9 Following the evaluation, Dr. Parsioon determined that

additional nerve blocks and surgery were not medically necessary to treat Mr. Starling's pain, as

the cause of Mr. Starling's pain was degenerative and unrelated to his previous workers'

compensation injury.10 Dr. Parsioon did recommend a pain pump to relieve Mr. Starling's

symptoms, but Mr. Starling refused that treatment.11 On November 18, 2016, Broadspire sent

correspondence to Mr. Starling advising that the medical management portion of Mr. Starling's

workers' compensation claim would be closed.12 Based on these allegations, the Starlings filed

suit.

                                          ARGUMENT

          I.     THE COURT SHOULD DISMISS PLAINTIFFS’ AMENDED COMPLAINT
                 FOR LACK OF SUBJECT MATTER JURISDICTION.

                 A.     The Court Does Not Have Subject Matter Jurisdiction Over Plaintiffs'
                        Claims As Plaintiff Danny Starling has Failed to Exhaust His
                        Administrative Remedies.

          Mississippi law recognizes that a claimant may have an independent cause of action in

tort for bad faith refusal to pay workers' compensation benefits when an insurance carrier or self-

insured employer denies benefits without a legitimate or arguable basis, commits a willful or



7
  Id.
8
  Id.
9
  Amended Compl. ¶50.
10
   Id. ¶23.
11
   Id. ¶¶23, 24.
12
   Id. ¶26.
                                                 3

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malicious wrong, or acts with gross and reckless disregard for the claimant's rights.13 However,

the Mississippi Workers' Compensation Commission (the "Commission") has exclusive

jurisdiction to determine whether the claimant is entitled to such benefits.14 Under Mississippi

law, a plaintiff may “not maintain a bad faith action for refusal to pay for disputed medical

services and supplies absent the Commission's prior determination that those services and

supplies were reasonable and necessary.”15

         A workers' compensation claimant must obtain a final judgment from the Commission

that he is entitled to benefits—i.e., he must exhaust his administrative remedies—before

instituting an action for the alleged bad faith denial of benefits.16 A bad faith action does not

accrue until the Commission has reviewed the presented dispute, conducted an inquiry, and

issued a final mandate.17 “[T]he requirement to exhaust administrative remedies before filing a

lawsuit for bad faith ensures that the proper body—the Commission—adjudicates [the

underlying claim].”18 The "exhaustion of the administrative remedial process is a mandatory

condition precedent to the maintaining of a bad faith suit for an allegedly wrongful denial of any

workers’ compensation benefits."19 Here, the Starlings have failed to fulfil this necessary

predicate before filing a bad faith action.




13
   See Miss. Power & Light Co. v. Cook, 832 So.2d 474, 479 (Miss. 2002); Chapman v. Coca–Cola
    Bottling Co., 180 So.3d 676, 681 (Miss. Ct. App. 2015); Walls v. Franklin Corp. (Walls II), 177 So. 3d
    1156, 1163 (Miss. Ct. App. 2015); AmFed Cos. v. Jordan, 34 So. 3d 1177, 1183 (Miss. Ct. App.
    2009).
14
   See Hardaway v. Howard Indust., Inc., 211So. 3d 718, 722 (Miss. Ct. App. 2016).
15
   Walls I, 797 So. 2d at 977.
16
   See Harper v. Cal–Maine Foods Inc., 43 So.3d 401, 403 (Miss. 2010); Bullock v. AIU Ins., 995 So. 2d
    717, 723 (Miss. 2008); Walls v. Franklin Corp. (Walls I ), 797 So. 2d 973, 976–77 (Miss.2001); Walls
    II, 177 So. 3d at 1161–63.
17
   Harper, 43 So.3d at 403 n. 3.
18
   See Walls II, 177 So.3d at 1163.
19
   Whitehead v. Zurich, 348 F.3d 478, 481 (5th Cir. 2003) (applying Mississippi law).
                                                     4

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         The Commission previously found that Mr. Starling was disabled and that his employer,

Burlington House Fabrics, and their insurer, Reliance, were required to provide Mr. Starling

disability payments over a defined period and "medical services and supplies for his injury."20

These medical services and supplies comprised treatment from 1999 to 2016, which included

nerve blocks and lumbar surgery.21 It was not until Dr. Parsioon's examination of Mr. Starling in

2016 that it was determined that medical services and supplies were no longer medically

necessary for the treatment of Mr. Starling's prior injury.22 Despite his findings, Dr. Parsioon

recommended a pain pump to Mr. Starling to treat his ongoing pain related to the degeneration of

his spine, but Mr. Starling refused that treatment.23

         While the Amended Complaint references a previous determination by the Commission

in 2009 that Mr. Starling was entitled to an additional lumbar facet injection during the 2009

calendar year, that determination is unrelated to the treatment currently in dispute.24 At no time

has the Commission determined that lumbar surgery was medically necessary for the treatment

of Mr. Starling's prior injury, or that a revision of a lumbar surgery was proper.25 Until Mr.

Starling brings his dispute with Dr. Parsioon's findings before the Commission for review, he has

failed to fulfil the mandatory prerequisites to filing a bad faith action.26 Where "[t]he Workers'

Compensation Commission has not found bad faith refusal [to pay workers' compensation

benefits] . . . this claim is not ripe for adjudication by [any] Court."27 As a plaintiff's failure to



20
   Amended Compl. ¶20.
21
   Id. ¶¶20-22.
22
   Id. ¶¶23-24, 26.
23
   Id. ¶¶23-24.
24
   See Exhibit D to Amended Compl.
25
   Hardaway, 211 So. 3d at 722 ("Commission has exclusive jurisdiction to determine in the first instance
    whether the claimant is entitled to such benefits.").
26
   Whitehead, 348 F.3d at 481.
27
   Id.
                                                       5

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exhaust administrative remedies implicates a court's subject matter jurisdiction, this matter

should be dismissed.28

                                          CONCLUSION

         For the reasons set forth above, the Court should grant Defendants Crawford & Company

and Broadspire Services, Inc.'s Motion to Dismiss for Lack of Subject Matter Jurisdiction.

Crawford & Company and Broadspire Services, Inc. also requests any additional relief the Court

may deem appropriate.

         This the 26th day of January, 2018.

                                                      Respectfully submitted,

                                                      CRAWFORD & COMPANY, AND
                                                      BROADSPIRE SERVICES, INC.

                                                      By Their Attorneys,

                                                      BAKER, DONELSON, BEARMAN,
                                                      CALDWELL & BERKOWITZ, PC


                                                      /s/ Amy Champagne
                                                         AMY CHAMPAGNE




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28
     See Hardaway, 211 So. 3d at 724 (Dismissing plaintiff's bad faith action for failure to exhaust
     administrative remedies).
                                               6

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                                 CERTIFICATE OF SERVICE

         I, Amy Champagne, hereby certify that on this day, I electronically filed the foregoing

with the Clerk of the Court using the ECF system, which sent notification of such filing to all

counsel of record.

         This 26th day of January, 2018.

                                                    /s/ Amy Champagne
                                                       AMY CHAMPAGNE




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